                 UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE




UNITED STATES OF AMERICA                     )
                                             )
v.                                           )            NO. 2:03-CR-62
                                             )
GARY MUSICK                                  )



                                    ORDER


            This criminal matter is before the Court to address the Defendant’s

Objections and Suggested Corrections to the Judgment. Both of the defendant’s

objections address Page 1 of the Judgment in a Criminal Case .

            The defendant first contends that the Nature of the Offense on Page

1 should read “Conspiracy to Distribute and Possession with the Intent to

distribute less than 50 grams of Cocaine.” The Court finds that the Nature of the

Offense correctly reads “a quantity of cocaine” because the jury verdict form in

this case specifically states that the defendant was found guilty of a conspiracy

to distribute and to possess with the intent to distribute a quantity of cocaine.

            Page 1 of the Judgment in a Criminal Case also shows that the




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defendant was found not guilty of Count 2. The Court FINDS that there is no

reason to amend Page 1 to reflect anything else in regard to Count 2.

      Accordingly, it is hereby ORDERED that the Defendant’s Objections and

Suggested Corrections to the Judgment are DENIED.



            ENTER:

                                                s/J. RONNIE GREER
                                            UNITED STATES DISTRICT JUDGE




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